         08-12666-mg         Doc 69     Filed 10/16/11 Entered 10/17/11 00:15:58                    Imaged
                                       Certificate of Service Pg 1 of 2
                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF NEW YORK
                                                One Bowling Green
                                             New York, NY 10004−1408


IN RE: Pace Product Solutions, Inc.                         CASE NO.: 08−12666−mg

Social Security/Taxpayer ID/Employer ID/Other Nos.:         CHAPTER: 7
20−3041414




                                        ORDER OF FINAL DECREE



The estate of the above named debtor has been fully administered.

IT IS ORDERED THAT:

Albert Togut is discharged as trustee of the estate and the chapter 7 case of the above named debtor(s) is closed.


Dated: October 14, 2011

                                                        Martin Glenn, Bankruptcy Judge
                08-12666-mg            Doc 69      Filed 10/16/11 Entered 10/17/11 00:15:58                          Imaged
                                                  Certificate of Service Pg 2 of 2
                                                United States Bankruptcy Court
                                                Southern District of New York
 In re:                                                                                                     Case No. 08-12666-mg
 Pace Product Solutions, Inc.                                                                               Chapter 7
          Debtor
                                                  CERTIFICATE OF NOTICE
 District/off: 0208-1                  User: aho                          Page 1 of 1                          Date Rcvd: Oct 14, 2011
                                       Form ID: 149                       Total Noticed: 2


 Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
 Oct 16, 2011.
 db            +Pace Product Solutions, Inc.,   304 East 78th Street, Apt. 5F,    New York, NY 10075-2226
 ust           +United States Trustee,   33 Whitehall Street,   21st Floor,    New York, NY 10004-2122

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 NONE.                                                                                       TOTAL: 0

               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Oct 16, 2011                                       Signature:
